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            EXHIBIT G
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 1                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
 2                              WACO DIVISION

 3     WSOU INVESTMENTS LLC            *
                                       *    February 16, 2023
 4     VS.                             *
                                       *    CIVIL ACTION NOS.
 5     GOOGLE LLC                      * W-20-CV-572/580/584/585

 6                  BEFORE THE HONORABLE ALAN D ALBRIGHT
                   MOTION and MARKMAN HEARING (via Zoom)
 7
       APPEARANCES:
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 9        Proceedings recorded by mechanical stenography,

10     transcript produced by computer-aided transcription.

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                                                                                      57

10:41    1     Mr. Lanier.      But I took plaintiff's argument that he

10:41    2     understood that with his last arguments.

10:41    3                       But if plaintiff's counsel wants to argue

10:41    4     anything else, I'm happy to hear it.

10:41    5                       MR. XIE:      None needed, Your Honor.           Thank

10:41    6     you.

10:41    7                       THE COURT:      Okay.     I'll be back in a

10:41    8     second.

10:41    9                       (Pause in proceedings.)

10:42   10                       THE COURT:      I want to thank all counsel

10:42   11     as usual for their usual exceptional work and

10:42   12     arguments.

10:42   13                       I'm going to maintain the preliminary

10:42   14     construction of plain and ordinary meaning.

10:42   15                       My understanding is that was the only

10:42   16     claim term we had to take up.             Is there anything else

10:42   17     that we needed to take up -- Mr. Lanier, you're in my

10:42   18     screen -- from Google's perspective?

10:42   19                       MR. LANIER:       No, Your Honor.       Nothing

10:42   20     more from us.       Thank you for the time today.

10:43   21                       THE COURT:      You bet.

10:43   22                       And for plaintiff?

10:43   23                       MR. XIE:      Correct.     Nothing further for

10:43   24     Brazos.

10:43   25                       THE COURT:      And I won't let it go



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                          U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (WACO)
